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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
                               SAN FRANCISCO DIVISION

 RICHARD KADREY, et al.,                              Case No. 3:23-cv-03417-VC

         Individual and Representative Plaintiffs,    PLAINTIFFS' ADMINISTRATIVE
                                                      MOTION TO CONSIDER WHETHER
    v.                                                ANOTHER PARTY'S MATERIAL
                                                      SHOULD BE SEALED RE: REPLY IN
 META PLATFORMS, INC.,                                SUPPORT OF PLAINTIFFS' MOTION FOR
                                                      LEAVE TO AMEND
                                      Defendant.




                                                   PLAINTIFFS' ADMIN. MTN. TO CONSIDER SEALING
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